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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

DEBBIE GIBSON,                            §
                                          §
       Plaintiff,                         §
                                          §
v.                                        §    Civil Action No. 4:20-cv-00924-P-BP
                                          §
BENJAMIN FRIEDMAN, et al.,                §
                                          §
       Defendants.                        §

ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
          OF THE UNITED STATES MAGISTRATE JUDGE

       The United States Magistrate Judge made Findings, Conclusions, and a

Recommendation in this case. No objections were filed, and the Magistrate Judge’s

Recommendation is ripe for review. The District Judge reviewed the proposed Findings,

Conclusions, and Recommendation for plain error. Finding none, the undersigned District

Judge believes that the Findings and Conclusions of the Magistrate Judge are correct, and

they are accepted as the Findings and Conclusions of the Court.

       Accordingly, Plaintiff’s Motion for Leave to Proceed in forma pauperis (ECF No.

3) is DENIED. It is further ORDERED that Plaintiff’s Complaint (ECF No. 1) is

DISMISSED WITHOUT PREJUDICE pursuant to 28 U.S.C. § 1915(e)(2).

       SO ORDERED on this 1st day of October, 2020.



                            Mark T. Pittman
                            UNITED STATES DISTRICT JUDGE
